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   8
                                 UNITED STATES DISTRICT COURT
   9
                            CENTRAL DISTRICT OF CALIFORNIA
  10
  11 STEPHANIE CLIFFORD a.k.a.                       Case No. 2:18-CV-05052-SJO (FFMx)
  12 STORMY DANIELS a.k.a. PEGGY                     REQUEST FOR JUDICIAL NOTICE
       PETERSON, an individual,
  13                                                 IN SUPPORT OF DEFENDANT
                                                     MICHAEL COHEN’S MOTION FOR
  14                Plaintiff,
                                                     STAY OF THIS ACTION
  15
             v.
                                                     Date:          August 6, 2018
  16
                                                     Time:          10:00 a.m.
     KEITH M. DAVIDSON, an Individual,
  17                                                 Location:      Courtroom 10C
     MICHAEL COHEN, an individual, and
  18 DOES 1 through 10, inclusive,
                                                             Hon. S. James Otero
  19
                      Defendants.                    Action Filed: June 6, 2018
  20
  21
             Defendant Michael Cohen (“Cohen”) respectfully requests, pursuant to Rule
  22
       201 of the Federal Rules of Evidence (“Rule 201”), that the Court take judicial notice
  23
       of the contents of the document attached as: Exhibit 1 to this Request: the filings of
  24
       the matter of Stephanie Clifford v. Donald J. Trump et al., case number 2:18-cv-
  25
       02217, in the U.S. District Court for the Central District of California.
  26
             Under Rule 201, “[t]he court may judicially notice a fact that is not subject to a
  27
       reasonable dispute because it… can be accurately and readily determined from
  28
       sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b).
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   1 “Federal courts may take judicial notice of orders and proceedings in other courts,
   2 including transcripts.” Neylon v. Cty. of Inyo, 2016 WL 6834097, at *2 (E.D. Cal.
   3 Nov. 21, 2016); see also, Engine Mfrs. Ass ’n v. South Coast Quality Maint. Dist.,
   4 498 F.3d 1031, 1039 n.2 (9th Cir. 2007) (taking judicial notice of a transcript of an
   5 oral argument before the California Supreme Court); United States ex rel. Robinson
   6 Rancheria Citizens Council v. Borneo, Inc., 971 F.2d 244, 248 (9th Cir. 1992) (a
   7 federal court “may take notice of proceedings in other courts, both within and without
   8 the federal judicial system, if those proceedings have a direct relation to matters at
   9 issue”); Lee v. City of Los Angeles, 250 F.3d 668, 688-689 (9th Cir. 2001) (“a court
  10 may take judicial notice of matters of public record”); Gerritsen v. Warner Bros.
  11 Entertainment Inc., 112 F. Supp. 3d 1011, 1033 (C.D. Cal. 2015) (“Under Rule 201,
  12 the court can take judicial notice of ‘[p]ublic records and government documents
  13 available from reliable sources on the Internet,’ such as website run by governmental
  14 agencies.”).
  15         The Court “must take judicial notice if a party requests it and the court is
  16 supplied with the necessary information.” Fed. R. Evid. 201(c)(2); see also, Lyon v.
  17 Gila River Indian Community, 626 F.3d 1059, 1075 (9th Cir. 2010) (holding that
  18 district court erred in refusing to take judicial notice of official action filed by Bureau
  19 of Indian Affairs).
  20   Dated: July 9, 2018                 BLAKELY LAW GROUP
  21
  22                                       By: /s/ Brent H. Blakely
                                               BRENT H. BLAKELY
  23                                           Attorneys for Defendant
  24                                           MICHAEL COHEN
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                                 REQUEST FOR JUDICIAL NOTICE
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                   EXHIBIT 1
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